      Case 1:24-cv-01702-RC     Document 28-2    Filed 07/29/24   Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT
ADVOCACY CENTER, et al.,

                                            Civil Action No. 24-cv-01702
               Plaintiffs,

      v.
U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.,


               Defendants.


    [PROPOSED] ORDER GRANTING UNOPPOSED MOTION OF
 NATIONAL CITIZENSHIP AND IMMIGRATION SERVICES COUNCIL
        119 FOR LEAVE TO FILE AMICUS CURIAE BRIEF

      Upon this Court’s review and full consideration of the Unopposed Motion of

National Citizenship and Immigration Services Council 119 for Leave to File

Amicus Curiae Brief, it is hereby ORDERED that the Motion is GRANTED, and

the attached proposed amicus curiae brief shall be docketed.

Dated: ______________________
                                      HONORABLE RUDOLPH CONTRERAS
                                      UNITED STATES DISTRICT JUDGE
